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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Preston Byron Knapp,                                Case No: 0:24-cv-00434 (DWF/ECW)

              Plaintiff,
                                                       MEMORANDUM OF LAW IN
vs.                                                    SUPPORT OF DEFENDANT’S
                                                          MOTION TO DISMISS
Wings Credit Union; AKA Wings Financial
Credit Union,

              Defendant.


                                    INTRODUCTION

       Defendant Wings Financial Credit Union (“Wings”) moves the Court for an Order

dismissing Plaintiff Preston Byron Knapp’s (“Plaintiff”) Complaint, with prejudice, for

failure to state a claim upon which relief can be granted. Plaintiff’s Complaint is frivolous,

nonsensical, and legally meritless, and Plaintiff failed to personally serve Wings, as

required by the Federal Rules of Civil Procedure.

       Plaintiff’s Complaint is based on conspiracy theories that courts around the country

have repeatedly and resoundingly rejected. Wings and Plaintiff have entered into a number

of binding agreements related to a mortgage loan and home equity line of credit

(“HELOC”), which are secured by the property owned by Plaintiff and his wife. The claims

he alleges are frivolous attempts to avoid actually paying Wings the amounts owed under

the parties’ binding contracts and are brought solely to harass Wings and advance the

conspiracy theories of Plaintiff’s “attorney-in-fact” Brandon Joe Williams. This Court

should therefore dismiss the Complaint, with prejudice.
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                                  FACTUAL BACKGROUND

       Wings is a state-chartered credit union organized pursuant to Chapter 52 of

Minnesota Statutes. Plaintiff Preston Byron Knapp and his wife, non-party Michelle

Nichole Knapp, have a mortgage loan with Wings (the “Mortgage”), and a HELOC with

Wings (the “HELOC”). (Compl. ¶¶ 10–11, ECF No. 1; Declaration of Tessa Mansfield

Hirte (“Hirte Decl.”), Ex. 1 (Mortgage); Ex. 2 (Note); Ex. 3 (Revolving Credit

Mortgage); Ex. 4 (Open-End Home Equity Credit Agreement and Truth in Lending

Disclosure).

       Under the terms of Plaintiff’s Mortgage and HELOC, he is required to make

payments on the loans when due. See Hirte Decl. Ex. 2, at 1 (“In return for a loan that I

have received, I promise to pay U.S. $1,119,400.00 (this account is called ‘Principal’),

plus interest, to the order of the Lender.”); Hirte Decl. Ex. 1, at 2–3 (agreeing to “pay

when due the principal of, and interest on, the debt evidenced by the Note”); Hirte Decl.

Ex. 3, at 2 (“Borrower shall promptly pay when due all amounts borrowed under the

Credit Agreement, all finance charges and applicable other charges and collection costs

as provided in Credit Agreement.”); Hirte Decl. Ex. 4, at 1 (“You promise to repay to the

Credit Union, or order, all advances made to you under this Plan, plus finance charges,

other applicable charges, and costs of voluntary payment protection for which you are

responsible for under this Plan.”). Plaintiff further agreed to make all payments under the

Mortgage “in the form of cash, check or money order” and “in U.S. currency.” Hirte

Decl. Ex. 2, at 1; Ex. 1, at 3.




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       In November of 2023, Plaintiff signed a document appointing Brandon Joe

Williams (“Williams”) as his “attorney-in-fact” and purporting to grant Williams the

power to “[p]erform any act necessary to deposit, negotiate, sell or transfer any note, real

estate, security, or draft of the United States of America, including U.S. Treasury

Securities. This includes any non-US notes, securities, drafts, etc. This includes

indorsements, approvals, exchanges, etc.” See Compl. ¶¶ 39, 43; see also Hirte Decl. Ex.

5, Documents Received from Williams January 11, 2024, at 6–17.

       In January of 2024, Williams sent “orders” to Wings related to Plaintiff’s

mortgage loan and HELOC. See Compl. ¶¶ 39–40; Hirte Decl. Ex. 5. Plaintiff alleges

these “orders” included at “unconditional tender of payment in accordance with UCC 3-

603,” “a payment for US dollars,” and “an unconditional order to pay.” Id. ¶¶ 47, 49–50.

The Complaint also alleges that Plaintiff “submitted another entire promissory note in

order to perform on the mortgage.” Id. ¶ 60. Plaintiff’s theory appears to be that, by

signing the documents included in the “orders” with a “special indorsement,” he

converted the documents to “negotiable instruments” which constitute “payment in US

dollars” and thereby satisfy Plaintiff’s loans with Wings. See id. ¶¶ 15, 49, 74–75.

       Plaintiff’s Complaint asserts state-law claims for breach of contract (Count 1) and

breach of fiduciary duties (Count 2), and federal claims for violation of 12 U.S.C. § 504

(Count 3), violation of securities-related criminal statutes (Counts 4–6), and violations of

Chapter 77 of Title 18 related to peonage, slavery, and trafficking in persons (Counts 7–

11). See Compl.




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       Plaintiff and his wife have also commenced a separate lawsuit in the District of

Minnesota against Compass Minnesota, LLC and Daniel Phillip Hollerman, their real

estate broker and agent, asserting similar claims to those asserted here. See Knapp v.

Compass Minnesota, LLC, No. 24-cv-00100-SRN-DTS (D. Minn.).

                                       ARGUMENT

I.     Legal Standard.

       To survive a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), a complaint

must establish sufficient facts that state a claim for relief “that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotation omitted). To determine if a claim is

sufficient, the Court accepts and treats all the factual allegations as true and draws

reasonable inferences in favor of the plaintiff. Paisley Park Enterprises, Inc. v. Boxill, 361

F. Supp. 3d 869, 880 (D. Minn. 2019) (citing Blankenship v. USA Truck, Inc., 601 F.3d

852, 853 (8th Cir. 2010)). However, the Court must disregard legal conclusions couched

as fact, and merely reciting the elements of a cause of action is insufficient to survive a

motion to dismiss. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Similarly, while

the factual allegations need not be detailed, they must demonstrate a “right to relief above

the speculative level” and “state a claim to relief that is plausible on its fact.” Id. at 555,

570.

       While pro se complaints are liberally construed, even pro se litigants must set forth

their claims “in a manner which, taking the pleaded facts as true, states a claim as a matter

of law.” Cunningham v. Ray, 648 F.2d 1185, 1186 (8th Cir. 1981). “[P]ro se litigants are

not excused from failing to comply with substantive and procedural law.” Burgs v. Sissel,


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745 F.2d 526, 528 (8th Cir. 1984). Even pro se complaints “still must allege sufficient facts

to support the claims advanced.” Stone v. Harry, 364 F.3d 912, 914 (8th Cir. 2004); see

also Dunn v. White, 880 F.2d 1188, 1197 (10th Cir. 1989) (explaining that courts “will not

supply additional facts, nor will we construct a legal theory for plaintiff that assumes facts

that have not been pleaded”).

       On a motion to dismiss, courts consider not only the complaint, but also “materials

that are necessarily embraced by the pleadings,” including “documents incorporated into

the complaint by reference.” Bachman’s Inc. v. Florists’ Mut. Ins. Co., 525 F. Supp. 3d

984, 986 (D. Minn. 2021). “In a case involving a contract, the court may examine the

contract documents in deciding a motion to dismiss. This is true even if contract

documents not attached to the complaint refute a breach-of-contract claim, or a claim that

defendant breached a statutory or common law duty.” Zean v. Fairview Health Servs.,

858 F.3d 520, 526 (8th Cir. 2017) (citation and quotation omitted); see also Iqbal, 556

U.S. at 678 (noting that courts “are not bound to accept as true a legal conclusion

couched as a factual allegation” (quotation omitted)).

II.    Counts 1 and 2 Must be Dismissed Because They are Based on Meritless
       Conspiracy Theories.

       Plaintiff’s Count 1 claim for breach of contract and Count 2 claim for breach of

fiduciary duty must be dismissed because both are premised upon conspiracy theories that

have been repeatedly rejected by federal courts.

       Plaintiff’s claims appear to be based on a theory often referred to as the “vapor

money” theory. The vapor money theory posits “that promissory notes (and similar



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instruments) are the equivalent of ‘money’ that citizens literally ‘create’ with their

signatures.” McLaughlin v. CitiMortgage, Inc., 726 F. Supp. 2d 201, 212 (D. Conn. 2010).

       Bolstering this argument (at least for its adherents) is the fact that once
       received, banks typically deposit promissory notes into their own accounts
       and list them as assets. Then, according to the vapor money theory, the bank
       purports to lend the ‘money’ that was “created” by the citizen's signature
       back to the citizen-borrower.

Id.

       Plaintiff’s Complaint appears to rely on a form of the “vapor money” theory, under

which Plaintiff apparently believes that by sending Wings documents containing his

signature and specific language (which he refers to as a “special indorsement”), he can then

convert various documents, including the notes underlying the Mortgage and HELOC, an

additional “promissory note” he created, and the monthly billing statements sent by Wings

(which he claims are “bills of exchange”) into “negotiable instruments,” which he can then

use as payments to satisfy his debts to Wings.1 See Compl. ¶¶ 23, 30-34.



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  In Plaintiff’s version, he appears to assert that Wings exchanged the original loan
documents he signed for Federal Reserve Notes (i.e., paper US currency) pursuant to 12
U.S.C. § 412, and that by sending Wings “orders” with his signature and a “special
indorsement” those Federal Reserve Notes are then used to payoff his loans. See Compl.
¶ 15 (“Proper performance would have been to indorse the original collateral securities
under special negotiation, prior to them being exchanged for Federal Reserve Notes.”); id.
¶ 49 (“Due to the original application having already been swapped for Federal Reserve
Notes after the application was indorsed with a blank indorsement, the orders inside the
parcel were a payment for US dollars.”); see also id. ¶¶ 29, 74. In addition to being based
on conspiracy theories universally rejected by the federal courts, the underlying premise
that Wings can obtain Federal Reserve Notes pursuant to 12 U.S.C. § 412 is false. Section
412 requires that an application for Federal Reserve Notes be made by a “Federal Reserve
bank.” Clearly, Wings is not a “Federal Reserve bank,” and thus Section 412 is inapplicable
to it. See, e.g., 12 U.S.C. § 225 (requiring federal reserve banks to “include in its title the
name of the city in which it is situated, as ‘Federal Reserve Bank of Chicago’”).

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       Federal courts have widely and universally rejected the theories underlying

Plaintiff’s allegations for decades. For example, in Demmler v. Bank One NA, 2006 U.S.

Dist. LEXIS 9409, *3 (S.D. Oh. Mar. 9, 2006), the plaintiff obtained a loan that was secured

by a mortgage on his real property. Id. When the plaintiff defaulted on the loan, the

defendant initiated foreclosure proceedings. Id. The plaintiff sued the defendant alleging

twenty-one causes of action related to the note and mortgage. Id. The court explained the

basic theory behind the plaintiff’s complaint as follows:

       [A]ll of Plaintiff's claims, federal and state, stem from the same basic
       premise. Plaintiff alleges that the promissory note he executed is the
       equivalent of “money” that he gave to the bank. He contends that Bank One
       took his “money,” i.e., the promissory note, deposited it into its own account
       without his permission, listed it as an “asset” on its ledger entries, and then
       essentially lent his own money back to him. He contends that Bank One did
       not actually have the funds available to lend to him, but instead “created” the
       money through its bookkeeping procedures.

Id. *10-11.

       The court dismissed the entire case, noting that the plaintiff provided “no authority

for this patently ludicrous argument” and that “[s]imilar arguments have been rejected by

federal courts across the country.” Id. at *11. The court further explained, “While a

promissory note may be a negotiable instrument, the note itself is not ‘money.’ It is nothing

more than the acknowledgment of a debt and a promise to repay the debt at some date in

the future.” Id. at *13-14. See also McLaughlin, 726 F. Supp. 2d at 214 (rejecting plaintiff’s

claims under the “Redemptionist” theory, the “vapor money” theory; and the “unlawful

money” theory, and noting “all three of these theories have been universally and

emphatically rejected by numerous federal courts for at least the last 25 years”); Harp v.



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Police, No. 23-2577, 2023 U.S. Dist. LEXIS 139418 (E.D. Pa. Aug. 10, 2023) (“[O]ther

courts nationwide have rejected such ‘frivolous’ attempts to satisfy a debt through a

fictitious ‘bill of exchange.’”); Rabbe v. Wells Fargo Home Mortg., Inc., No. 8:17-CV-

131, 2017 U.S. Dist. LEXIS 88910, at *4 (D. Neb. June 9, 2017) ( “The plaintiffs’ particular

permutation is commonly referred to as a ‘vapor money’ or an ‘unlawful money’ claim,

and has been uniformly rejected by every court to consider it.”); Hennis v. Trustmark Bank,

2010 U.S. Dist. LEXIS 45759, *16 (S.D. Miss. May 10, 2010) (“From coast to coast,

claims that debts have been paid under the redemption theory by the plaintiffs’ issuance of

‘bills of exchange’ have been dismissed as frivolous.”).

       Similar to the claims in Demmler and related authorities, Plaintiff’s claim that by

submitting a “special indorsement” he somehow converted the original notes and monthly

billing statements into legal tender is patently ludicrous and frivolous. Consequently,

Plaintiff’s claims of breach of contract and breach of fiduciary duty must be dismissed with

prejudice.

III.   Plaintiff’s Breach of Contract Claim (Count 1) Must be Dismissed Because
       Plaintiff Has Not Identified Any Provisions Within the Parties’ Contracts That
       Wings Has Allegedly Breached.

       Plaintiff’s breach of contract claim must be dismissed for failure to identify any

contract or contractual provision that has allegedly been breached. Breach of contract is a

state law claim to which federal courts apply Minnesota law. See Bores v. Domino’s Pizza,

LLC, 530 F.3d 671, 674 (8th Cir. 2008). “A breach of contract is a failure, without legal

excuse, to perform any promise that forms the whole or part of the contract.” Lyon Fin.

Servs., Inc. v. Illinois Paper & Copier Co., 848 N.W.2d 539, 543 (Minn. 2014) (citations


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omitted). “To plausibly plead breach of contract, it is not enough to allege that the

defendants acted contrary to an agreement. The plaintiff must allege sufficient details for

the Court to infer that a material term of the contract has been breached.” Hopper v. BMO

Harris Bank, N.A (D. Minn. Aug. 2, 2023).

       At a basic level, Plaintiff’s breach of contract claim fails to identify any contact or

contractual provision that has allegedly been breached. See generally Compl. In Count 1,

Plaintiff alleges that he submitted a promissory note to Wings “in order to perform on the

mortgage” and alleges that Wings ignored that “tender.” Id. ¶ 60–61. While unclear, it

appears Plaintiff is alleging that he fulfilled his obligations with regard to his loans with

Wings by providing Wings with a “promissory note.” Plaintiff does not identify what

provision(s) in any of his contracts were breached or what language within those contracts

would require Wings to accept this alleged “promissory note” as the payment he is required

to make under the terms of both loans.

       Courts have rejected similar claims on numerous occasions. For example, in Harp

v. Police, 2023 U.S. Dist. LEXIS 139418, *2 (E.D. Penn. Aug. 10, 2023), the plaintiff

attempted to pay her credit card bill by submitting to the defendant credit union a “bill of

exchange” that “was fashioned from the Enclosure Form sent with her credit card

statement, on which [the plaintiff] indicated that the ‘Amount Enclosed’ was $5,480.46,

with notations stating ‘ACCEPTED,’ ‘PAY TO BEARER,’ ‘PAY WITH INTEREST,’ and

‘PAY ON DEMAND.’” Along with the “bill of exchange”, the plaintiff sent a letter

claiming, “I have performed my contractual obligations by remitting payment via bill of

exchange as collateral security and legal tender.” Id. at *2-3. When the credit union refused


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to accept the “bill of exchange” as legal tender, the plaintiff sued the credit union asserting,

among other claims, breach of contract. Id. at *4.

       The court dismissed the breach of contract claim, noting that the terms of the

plaintiff’s account agreement gave the credit union discretion to refuse any financial

instrument presented for deposit. Id. at *8. Moreover, the court found that, even if the terms

of the agreement did not give the credit union such discretion, the “bill of exchange”

presented by the plaintiff clearly was not valid legal tender. Id. The court explained, “In

other circumstances, a bill of exchange is certainly a valid financial instrument, often used

to keep track of debt in international trade. … But here, rather than a legally enforceable

document noting an existing debt that PFFCU owed to her, Harp simply handwrote an array

of financial buzzwords on her credit card statement and tried to pass this off to PFFCU as

valid legal tender for her credit card debt. This is not a valid financial instrument, and other

courts nationwide have rejected such ‘frivolous’ attempts to satisfy a debt through a

fictitious ‘bill of exchange.’” Id. at *8-9.

       Similarly, here, the Mortgage, HELOC, and related loan documents do not contain

any provisions requiring Wings to accept an alleged “promissory note” or “bill of

exchange” in lieu of payment. Instead, the Mortgage and underlying note require Plaintiff

to repay the loan in the form of cash, check or money order and make payments “in U.S.

currency.” See Hirte Decl. Ex. 2, at 1; Ex. 1, at 2–3. Nowhere in the Mortgage, HELOC,

or related loan documents does it state that Wings is required to accept a fictitious

“promissory note” or “bill of exchange” in lieu of payment. Similar to the “bill of




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exchange” in Harp, Plaintiff’s “promissory note”, “bills of exchange”, and “special

indorsements” are not valid financial instruments.

       The entire theory underlying Plaintiff’s breach of contract claim is frivolous and

unsupported by both the law and the factual allegations. As such, this Court should dismiss

Plaintiff’s breach of contract claim with prejudice.

IV.    Plaintiff’s Breach of Fiduciary Duty Claim (Count 2) Must Be Dismissed
       Because Wings Does Not Owe Plaintiff Fiduciary Duties and Plaintiff Fails to
       Identify Any Actions That Would Constitute a Breach.

       Plaintiff’s breach of fiduciary duty claim fails because Wings does not owe Plaintiff

any fiduciary duties, and the Complaint does not identify actions that would constitute a

breach of fiduciary duties. Plaintiff alleges that Wings “has a fiduciary duty to [his]

financial success,” “is paid to ensure the law is correctly applied in respect to” him, and

that Wings never mentioned to him “the benefits of special indorsements,” claiming that

“[t]his breach of fiduciary duty has caused years of anxiety over the extraneous paying of

bills that is entirely unnecessary.” Compl. ¶¶ 69–70, 78, 80. This claim is meritless.

       First, Wings does not owe Plaintiff fiduciary duties. See Roers v. Countrywide Home

Loans, Inc., 728 F.3d 832, 838 (8th Cir. 2013) (“The general rule in Minnesota is that

lenders bear no fiduciary duty to borrowers.” (quotation omitted)); Impulse Trading v.

Norwest Bank Minn., N.A., 870 F. Supp. 954, 961 (D. Minn. 1994) (“The relationship

between a bank and its customer is one of debtor and creditor, with the customer as the

creditor and the bank the debtor. This relationship is not one of agent and principle and

therefore does not give rise to a fiduciary relationship.” (citation omitted)). Plaintiff’s

relationship with Wings is contractual, not fiduciary.


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       Plaintiff also fails to identify any actions that would constitute a breach of fiduciary

duty, if such a duty existed. Plaintiff’s breach of fiduciary duty claim appears to be based

on his theory that he can do a “special indorsement” on certain documents and somehow

that constitutes payment of Plaintiff’s loans with Wings. Plaintiff seems to assert that

Wings should have advised him regarding his ability to do a “special indorsement.” See

Compl. ¶¶ 15–19, 45, 49, 51–54, 74–80. As explained above, Plaintiff’s theory regarding

a “special indorsement” is meritless, and therefore cannot support a claim for breach of

fiduciary duty.

V.     Plaintiff’s Claim for Civil Penalties Under 12 U.S.C. § 504 Fails as a Matter of
       Law Because the Statute Does Not Apply to Wings, The Statute Does Not
       Provide a Private Right of Action, and Plaintiff Failed to Plead Facts that
       Would Support Imposition of a Civil Penalty.

       Plaintiff’s federal claims fair no better than his state law claims. To begin with,

Plaintiff’s claim that Wings is subject to a civil penalty pursuant to 12 U.S.C. § 504 is

frivolous. Section 504 provides civil penalties for any “member bank” which engages in

certain conduct. A “member bank” is “any national bank, State bank, or bank or trust

company which has become a member of one of the Federal reserve banks.” 12 U.S.C. §

221. Wings is not a “national bank, State bank, or bank or trust company.” It is a state-

chartered credit union organized pursuant to Chapter 52 of Minnesota Statutes, and thus

cannot be “a member of one of the Federal reserve banks.” See id.; see also Minn. Stat. §

52.001 (defining credit union as “a cooperative, not-for-profit financial institution formed

and operating under this chapter”); Minn. Stat. § 52.01 (providing the manner of




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organization for a Minnesota credit union). Thus, this claim must be dismissed because

Wings is not subject to the requirements of Section 504.

       Plaintiff’s claim is also meritless because section 504 does not provide a private

right of action. See 12 U.S.C. § 504 (e) (providing that penalties shall be assess and

collected be either the Comptroller of the Currency or the Federal Reserve Board); Harp,

2023 U.S. Dist. LEXIS 139418, at *12 (holding that “the imposition of civil penalties

under [12 U.S.C. § 504] is carried out by federal officials, and private individuals do not

have a private right of action to enforce [12 U.S.C. § 504] of the Federal Reserve Act”);

see also Ritchie, 2024 U.S. Dist. LEXIS 12159, at *6 ( “Plaintiff has not stated a claim for

relief under the Federal Reserve Act because this statutory scheme does not contain a

private right of action.”). Plaintiff has failed to plead any facts to indicate that he is a federal

official with the authority to impose civil penalties under section 504—to the contrary, he

pleaded that he is “a person residing in Hennepin County, Minnesota.” Compl. ¶ 5.

       Finally, Plaintiff’s claim also fails because Plaintiff failed to plead facts that support

a violation of Section 504. Plaintiff alleges that Section 504 “is involved because WINGS

never attempted to work with Preston Byron Knapp’s performance.” Even if true, such an

allegation does not amount to a violation of the Federal Reserve Act. Section 504 provides

for several different tiers of violations, subject to different penalties. See 12 U.S.C. § 504.

Subsection (a) provides that, “Any member bank which . . . violates any provision of

section 371c, 371c–1, 375, 375a, 375b, 376, or 503 of this title, or any regulation issued

pursuant thereto, shall forfeit and pay a civil penalty of not more than $5,000 for each day

during which such violation continues.” Id., (a). However, Sections 371c and 371c-1 relate


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to affiliate transactions, Section 375 is blank (reserved for future use), Sections 375a and

375b relate to loans and extension of credit to executive officers, Section 376 relates to the

interest rates paid to directors, employees, etc., and Section 503 imposes liability for

directors and officers for violation of sections 375, 375a, 375b, and 376. None of the

allegations in the Complaint bear any logical connection with those sections of the Act.

       Subsection (b) provides liability for committing a violation described in subsection

(a), recklessly engaging “in an unsafe or unsound practice in conducting the affairs of such

member bank” or breaching a fiduciary duty, if such violation, practice, or breach is: “(A)

is part of a pattern of misconduct; (B) causes or is likely to cause more than a minimal loss

to such member bank; or (C) results in pecuniary gain or other benefit to such party.” Id.,

(b). Plaintiff does not allege a violation of subsection (a) or that Wings engaged in an unsafe

or unsound practice, and as addressed above, Wings neither owes Plaintiff fiduciary duties

nor breached such non-existent duties to Plaintiff. Subsection (c) provides similar liability

where such conduct “knowingly or recklessly causes a substantial loss to such credit union

or a substantial pecuniary gain or other benefit to such party by reason of such violation,

practice, or breach.” Id., (c). Plaintiff’s Complaint does not allege facts which, if true,

would amount to a violation of Section 504, and thus Plaintiff’s Complaint fails to identify

any actions by Wings that would lead to imposition of a penalty under section 504, even if

it applied.

       Plaintiff’s Count 3 fails because Section 504 does not apply to Wings, Plaintiff

cannot enforce Section 504, and Plaintiff’s Complaint fails to allege facts that, if true,

would support a violation of Section 504.


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VI.    Plaintiff’s Claims Based on 18 U.S.C. § 1956, 18 U.S.C. § 2314, and 18 U.S.C. §
       1348, (Counts 4–6) Must Be Dismissed Because Plaintiff, as a Private Citizen,
       Cannot Enforce Criminal Statutes.

       Plaintiff’s claims under 18 U.S.C. §§ 1348, 1956, and 2314 also fail as a matter of

law because they are all based on alleged violations of criminal statutes. Count 4 is based

on 18 U.S.C. § 1956 (Laundering of Monetary Instruments), Count 5 is based on 18 U.S.C.

§ 2314 (Transportation of Stolen Securities), and Count 6 is based on 18 U.S.C. § 1348

(Securities and Commodities Fraud). As a private citizen, Plaintiff does not have standing

to bring these claims. See Kunzer v. Magill, 667 F. Supp. 2d 1058, 1062 (D. Minn. 2009)

(“A private citizen does not have standing either to enforce federal criminal statutes or to

have such statutes enforced.”).

       These claims also fail because there is no private right of action under these statutes.

In determining if a statute provides a private right of action, courts look to congressional

intent to see if a private right of action was contemplated by Congress. Patil v. Minn. State

Univ., No. 12-1052 (JRT/JSM), 2012 U.S. Dist. LEXIS 187279, at *40-41 (D. Minn. Dec.

10, 2012). If such intent cannot be inferred from the statutory language, its structure, or

some other source, there is no private right of action. Id. The presence of a criminal statute

neither creates nor implies a corresponding private right of action. See United States v.

Wadena, 152 F.3d 831, 845–46 (8th Cir. 1998). Only the United States attorney has the

right to assert claims under Title 18. See 28 U.S.C. § 547(a) (“[E]ach United States

attorney, within his district, shall . . . prosecute for all offenses against the United States.”).

       There is no question that Plaintiff cannot assert a private right of action under these

sections of Title 18. Numerous courts have found there is no private right of action under


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Section 1956. See Dubai Islamic Bank v. Citibank, N.A., 126 F. Supp. 2d 659, 668

(S.D.N.Y. 2000) (finding that § 1956 does not expressly provide a private right of action);

see also Selmon-Austin El v. Wells Fargo Bank, No. 2:19-cv-02538-JTF-cgc, 2020 U.S.

Dist. LEXIS 61713, at *10 (W.D. Tenn. Mar. 12, 2020) (citing a number of cases holding

Section 1956 does not provide a private right of action); Barrett v. City of Allentown, 152

F.R.D. 50, 56 (E.D. Pa. 1993) (holding there is no civil action available under 18 U.S.C. §

1956). Likewise, there is no language within Section 2314 that provides a private right of

action, see 18 U.S.C. § 2314, and courts in other districts have found no private right of

action exists under Section 2314, see Klein v. Sutro Bros. & Co., No. 69 Civ. 3693., 1970

U.S. Dist. LEXIS 13072, at *4 (S.D.N.Y. Jan. 26, 1970); Carroll v. United States Equities

Corp., No. 1:18-CV-667, 2020 U.S. Dist. LEXIS 258605, at *49 (N.D.N.Y. Nov. 30, 2020)

(holding there is no independent civil claim under 18 U.S.C. § 2314). Additionally, nothing

in the language of Section 1348 implies a private right of action, see 18 U.S.C. § 1348, and

courts have held there is no private right of action, see, e.g., Barringer v. Ohio, No. 3:23

CV 1530, 2023 U.S. Dist. LEXIS 216430, at *3 (N.D. Ohio Dec. 5, 2023); Francis v.

Fannie Mae, No. 20-CV-5863(EK)(LB), 2021 U.S. Dist. LEXIS 48595, at *5 (E.D.N.Y.

Mar. 15, 2021).

       Finally, even if Plaintiff could assert a claim for a violation of Section 1348, such

claim is not pleaded with the particularity required by Fed. R. Civ. P. 9(b). When alleging

fraud or mistake, a plaintiff must “state with particularity the circumstances constituting

fraud or mistake.” Fed. R. Civ. P. 9(b). “The complaint must plead such matters as the

time, place and contents of false representations, as well as the identity of the person


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making the misrepresentation and what was obtained or given up thereby.” Ambassador

Press, Inc. v. Durst Image Tech. U.S., LLC, 949 F.3d 417, 421 (8th Cir. 2020).

        Here, Plaintiff’s only assertion of fraud is that fraud resulted “due to complete

failure to disclose the terms and options of signing/indorsing above collateral securities.”

Compl. ¶ 98. Plaintiff’s cursory assertion of fraud is not pleaded with sufficient

particularity to comply with requirements of the federal rules—it does not identify the time,

place, or contents of the misrepresentation, or the identity of the person making it.

Therefore, Count 6 must also be dismissed with prejudice for failing to meet the

requirements of Rule 9(b).

        Plaintiff’s claims under 18 U.S.C. §§ 1348, 1956, and 2314 fail to state a claim for

which relief can be granted, because Plaintiff does not have standing to prosecute federal

criminal statutes and there are no private rights of action under the referenced statutes.

These claims must be dismissed with prejudice.

VII.    Plaintiff’s Remaining Claims (Counts 7–11) Must Be Dismissed Because the
        Facts Alleged Have No Connection to the Claims Asserted.

        Plaintiff’s remaining claims are all based on Chapter 77 of Title 18 of the US Code,

which deals with the federal crimes of peonage, slavery, and trafficking in persons. In

particular, Plaintiff’s Count 7 asserts a violation of 18 U.S.C. § 1581 (Peonage), Count 8

asserts a violation of 18 U.S.C. § 1583 (Enticement into Slavery); Count 9 asserts a

violation of 18 U.S.C. § 1584 (Sale into Involuntary Servitude); Count 10 asserts a

violation of 18 U.S.C. § 1589 (Forced Labor); and Count 11 asserts a violation of 18 U.S.C.

§ 1593A (Benefitting Financially from Peonage, Slavery, and Trafficking in Persons).



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None of the facts in Plaintiff’s Complaint bear any logical connection to these claims and

they fail as a matter of law.

          Peonage is ‘compulsory service in payment of a debt’” and “‘compulsory
          service’ is the equivalent of ‘involuntary servitude’, which the Supreme
          Court has defined as ‘a condition of servitude in which the victim is forced
          to work for the defendant by the use or threat of physical restraint or physical
          injury, or by the use or threat of coercion through law or the legal process.’

United States v. Farrell, 563 F.3d 364, 372 (8th Cir. 2009) (quoting Bailey v. Alabama,

219 U.S. 219, 242 (1911)) (cleaned up) (noting that threatening to put workers who “run

away” in a balikbayan box and ship them back to the Philippines was a threat of physical

force).

          Section 1583 (Enticement into Slavery) and section 1584 (Sale into Involuntary

Servitude) address very similar conditions. “The essence of a holding in involuntary

servitude is the exercise of control by one individual over another so that the latter is

coerced into laboring for the former.” United States v. Mussry, 726 F.2d 1448, 1452 (9th

Cir. 1984); see also Saraswat v. Bus. Integra, Inc., No. 15-CV-4680 (PKC) (LB), 2019

U.S. Dist. LEXIS 70054, at *17 (E.D.N.Y. Apr. 25, 2019) (explaining that “Civil liability

for forced labor under § 1589 requires a finding, by a preponderance of the evidence, that

the defendant ‘knowingly provide[d] or obtain[ed] the labor or services of a person’ by

means of: (1) force, threats of force, physical restraint, or threats of physical restraint to

that person or another person; (2) serious harm or threats of serious harm to that person or

another person; (3) the abuse or threatened abuse of law or legal process; or (4) any scheme,

plan, or pattern intended to cause the person to believe that, if that person did not perform

such labor or services, that person or another person would suffer serious harm or physical


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restraint”); Aragon v. Ku, 277 F. Supp. 3d 1055, 1069 (D. Minn. 2017) (explaining that the

purpose of Section 1589 “is to combat trafficking in persons, a contemporary manifestation

of slavery whose victims are predominately women and children, to ensure just and

effective punishment of traffickers”).

       Here, Plaintiff’s allegations do not state a claim for violations of Sections 1581,

1583, 1584, 1589, or 1593A.2 Plaintiff alleges that these statutes apply because he has to

work in order to pay back the loans he obtained from Wings and feared losing his home if

he failed to make payments on the loans. See Compl. ¶¶ 103, 108–09, 112, 119, 122, 125,

130; see also id. ¶ 117 (acknowledging that the transaction was “not legally theft”). Such

allegations are wholly inadequate to state claims under any of the alleged statutes, as the

Ninth Circuit has explained:

              We recognize that economic necessity may force persons to
              accept jobs that they would prefer not to perform or to work
              for wages they would prefer not to work for. Such persons may
              feel coerced into laboring at those jobs. That coercion,
              however, results from societal conditions and not from the
              employer’s conduct. Only improper or wrongful conduct on
              the part of an employer subjects him to prosecution. To
              illustrate this point further, an employer who truthfully informs
              an individual that there are no other available jobs in the
              market, merely provides an opportunity for a person to work
              for low wages, or simply takes advantage of circumstances
              created by others is not guilty of an offense. An employer who


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  Liability under Section 1593A requires receiving a benefit “from participation in a
venture which has engaged in any act in violation of this chapter, knowing or in reckless
disregard of the fact that the venture has engaged in such violation.” 18 U.S.C. § 1593A.
As Plaintiff’s Complaint contains no allegations that Wings violated any provisions of
Chapter 77 of Title 18 of the US Code and contains no allegations Wings participated in a
venture which engaged in such violations (much less knowingly or in reckless disregard of
such violations), Plaintiff’s Complaint fails to state a claim under Section 1593A as well.

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              has not engaged in improper or wrongful conduct has not
              violated the law.

Mussry, 726 F.2d at 1453; see also Heart of Atlanta Motel v. United States, 379 U.S. 241,

244, 261 (1964) (rejecting the contention that “by requiring appellant to rent available

rooms to Negroes against its will, Congress is subjecting it to involuntary servitude”).

Rather, “courts assessing claims concerning § 1583’s prohibition against slavery and §

1584’s similar prohibition against involuntary servitude make clear that circumstances

running afoul of those provisions are typically ‘limited to labor camps, isolated religious

sects, or forced confinement.’” Tegete v. Maryknoll Sisters of Saint Dominic, Inc., No. 20-

CV-5023 (CS), 2023 U.S. Dist. LEXIS 43034, at *38 (S.D.N.Y. Mar. 14, 2023) (quoting

Zavala v. Wal Mart Stores Inc., 691 F.3d 527, 540 (3d Cir. 2012)).

       There is simply no question that Plaintiff—who had sufficient assets and income to

obtain a loan of over $1 million to purchase his house—is not being subjected to peonage,

slavery, involuntary servitude, or forced labor, simply because Wings is requiring him to

pay back his loans. Plaintiff’s Chapter 77 claims are utterly absurd on their face and must

be dismissed, with prejudice.

VIII. Wings Was Not Properly Served.

       Finally, Plaintiff’s attempt to serve Wings via certified mail is insufficient. Under

Fed. R. Civ. P. 4, “a domestic or foreign corporation, or a partnership or other

unincorporated association” must be served either “in the manner prescribed by Rule

4(e)(1) for serving an individual” or “by delivering a copy of the summons and of the

complaint to an officer, a managing or general agent, or any other agent authorized by



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appointment or by law to receive service of process.” Fed R. Civ. P 4(h)(1). Rule 4(e)(1)

authorizes “following state law for serving a summons.” Under Minnesota State law,

personal service is also required. See Minn. R. Civ. P. 4.03; see also Melillo v. Heitland,

880 N.W.2d 862, 865 (Minn. 2016) (“In summary, the rules governing service by mail,

personal service, and return of service are clear and unambiguous. Service by certified mail

does not comply with them.”); Yohannes v. Minn. IT Servs., No. 21-CV-0620 (PJS/KMM),

2021 U.S. Dist. LEXIS 149934, at *10 (D. Minn. Aug. 10, 2021) (noting that the plaintiff

must arrange for someone else to physically deliver the summons and complaint; he cannot

deliver them himself, and he cannot effect service through mail or email); Schnabel v.

Wells, 922 F.2d 726, 728 (11th Cir. 1991) (requiring personal service if service under the

federal mail service rule is ineffective). If a defendant is not served pursuant to the rules,

the Court will not hear the case. See Printed Media Servs. v. Solna Web, Inc., 11 F.3d 838,

843 (8th Cir. 1993) (“If a defendant is improperly served, a federal court lacks jurisdiction

over the defendant.”).

       Absent proper service, “a federal court lacks jurisdiction over the defendant even if

the defendant had actual notice of the lawsuit.” Jackson v. Marathon Corp., No. 20-cv-79

(ECT/ECW), 2020 U.S. Dist. LEXIS 70951, at *3 (D. Minn. Apr. 22, 2020) (citations and

quotations omitted). Plaintiff “bears the burden of proof to establish by a preponderance of

the evidence that service was proper.” Lisa Truong v. Collins Aero. Sys., No. 23-1346

(JRT/DLM), 2024 U.S. Dist. LEXIS 4986, at *6 (D. Minn. Jan. 10, 2024).

       Plaintiff did not personally serve Wings. Instead, Plaintiff attempted to serve Wings

by certified mail. However, neither the federal rule nor the state rule allows for service by


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mail. Here, Plaintiff chose not to personally serve Wings with a copy of the summons and

complaint, instead choosing to attempt service via certified mail. As such, service upon

Wings has not been perfected, and the Complaint must be dismissed.

                                     CONCLUSION

       Plaintiff’s legal theories are meritless, frivolous, and appear to be based on widely

rejected conspiracy theories. The Complaint fails to state a claim upon which relief may be

granted because it fails to identify any contractual provisions Wings has breached, Wings

does not owe Plaintiff fiduciary duties, Plaintiff does not have a private right of action to

assert violations of criminal law, and Plaintiff’s claims based on Chapter 77 of Title 18 are

utterly absurd on their face. Finally, Plaintiff failed to adequately serve Wings pursuant to

the Federal Rules of Civil Procedure. For all of these reasons, this Court should dismiss

Plaintiff’s Complaint in its entirety and with prejudice.


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